Case 1:11-cv-02122-MKB-RLM                 Document 3          Filed 06/08/11     Page 1 of 2 PageID #: 40




 David A. Scheffel, Esq.
 Eric B. Epstein, Esq.
 DORSEY & WHITNEY LLP
 51 West 52nd Street
 New York, NY 10019-6119
 (212) 735-0799

 Attorneys for Defendant Emigrant Mortgage Company

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X

 JEAN ROBERT SAINT-JEAN and EDITH
 SAINT-JEAN,

                                    Plaintiffs,
                                                                     Index No. 11-CV-2122
                             -v-
                                                               The Honorable Sterling Johnson, Jr.
 EMIGRANT MORTGAGE COMPANY,

                                    Defendants.

 ----------------------------------------------------------X

                                           NOTICE OF MOTION

         PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in

 Support of Motion to Dismiss Complaint, upon the accompanying Declaration of David

 A. Scheffel in Support of Motion to Dismiss Complaint, and upon all prior pleadings

 herein, Defendant Emigrant Mortgage Company hereby moves to dismiss the Complaint

 in this action pursuant to Rule 12 of the Federal Rules of Civil Procedure, together with

 such other or further relief that the Court may deem just and proper.
Case 1:11-cv-02122-MKB-RLM   Document 3      Filed 06/08/11    Page 2 of 2 PageID #: 41




 Dated: June 8, 2011                      Respectfully submitted,

                                          DORSEY & WHITNEY LLP


                                          /s/ David A. Scheffel
                                          David A. Scheffel
                                          Eric B. Epstein
                                          51 West 52nd Street
                                          New York, NY 10019-6119

                                          Attorneys for Defendant
                                          Emigrant Mortgage Company




                                      2
